Case 4:12-cr-00032-MFU       Document 196 Filed 06/24/16           Page 1 of 1 Pageid#:
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                     IN THE UNITED STATES DISTRICT COURT                         JUN 2k 2:15
                    FOR THE W ESTERN DISTRICT OF W RGINIA                      JULI            LEK CLERK
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                                 DANW LLE DIVISION                                    EP       c RK

UNITED STATES OF AM ERICA                       C ase N o.4:12-cr-00032-1

V.                                              O R D ER

TYRELL KEONISAUNDERS,                           By:     H on.Jackson L.K iser          .
                                                                                                   .
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     Petitioner.                                        SeniorU nited StatesD istrictJudge ,

       Forthereasonssfated in the accom panyingM em orandum Opinion,itishereby

                                       ORDERED

thatthemotiohtovacate,setasideorcorrectsentencepmsuantto28U.S./.j2255is
DISM ISSED withoutprejudiceassuccessive,acertiscateofappealabilityisDENIED,the
m otion to appointcotm selisGRANTED ptlrsuantto Stapding Order2015-5,and the caseis

STRICKEN f'
          rom theactivedocket.

      TheClerk shallsend copiesofthisOrderand the accompanyingM em orand'um Opinion

to Petitionerand counselofrecord fortheUnited States.

       ENTER:Thi; - dayofJune,2016.
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                                                    .
                                                        United StatesDistrictJudge
